     Case: 1:18-cv-00452 Document #: 14 Filed: 04/24/18 Page 1 of 1 PageID #:83

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Malibu Media, LLC
                               Plaintiff,
v.                                                  Case No.: 1:18−cv−00452
                                                    Honorable Charles P. Kocoras
John Doe
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, April 24, 2018:


        MINUTE entry before the Honorable Charles P. Kocoras: Status hearing held.
Motion to Quash the Subpoena [11] is granted. Motion hearing set for 5/1/2018 is
stricken. Status hearing is set for 7/5/2018 at 9:30 a.m. Mailed notice(vcf, )




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